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CLERK'S OFFICE U.S. DISTRICT COURT
AT ABINGDON, VA

FILED
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA APR 09 2019
. ABINGDON ‘JULIA C. DUDLEY, CLERK
UNITED STATES OF AMERICA ) BY: iA
) - DEPUTY CLERK
v.. ) Case No. |i] 4CROOD I Lo
)
INDIVIOR INC. (a/k/a Reckitt Benckiser )} Violations:
_ Pharmaceuticals Inc.) and )}° 18 U.S.C. §§ 2, 1341, 1343, 1347, 1349
INDIVIOR PLC }
INDICTMENT
OVERVIEW
The Grand Jury charges that:
1.’ Suboxone Film is an opioid drug used in the treatment of opioid

addiction/dependence. Indivior sells Suboxone Film throughout the United States. Beginning in
or about 2010, Indivior executed an illicit nationwide scheme to increase prescriptions of
Suboxone Film. In particular, Indivior illegally obtained billions of dollars in revenue from
Siiboxone Film prescriptions by deceiving health care providers and health care benefit programs
into believing that Suboxone Film is safer and less susceptible to diversion and abuse than other,
similar drugs. Indivior further sought to boost its profits from Suboxone Film by establishing a
telephone program for patients to call to be connected with a doctor for opioid
addiction/dependence treatment, which Indivior used to connect patients to doctors Indivior
knew were prescribing Suboxone and/or other opioids in a careless and clinically unwarranted
manner. Indivior’s fraudulent scheme lasted for years and hindered patients’, health care
providers’, and health care benefit programs’ accurate assessments regarding opioid-addiction

treatment in order to increase the company’s profits.

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INTRODUCTION
The Grand Jury charges that at times material to this Indictment:
DEFENDANTS

2. . INDIVIOR INC. (hereinafter “INDIVIOR") was a Delaware corporation
headquartered in Richmond, Virginia, that marketed and distributed prescription drugs
containing buprenorphine, an opioid controlled substance, under brand names including
Suboxone and Subutex. Until on or about December 23, 2014, INDIVIOR was a wholly owned
subsidiary of Company A, and was known as Reckitt Benckiser Pharmaceuticals Inc.

3. INDIVIOR PLC was an English public limited company headquartered in Slough,
England, United Kingdom, that owned, controlled, managed, and operated INDIVIOR after on
or about December 23, 2014. .
HEALTH CARE BENEFIT PROGRAMS

4. Medicare was a health care benefit program under Title 18, United States Code,
Section 24(b) that provided basic medical coverage to individuals age 65 or older and to certain
disabled persons. The United States Department of Health and Human Services, through the ©
Centers for Medicare and Medicaid Services (“CMS”), administered Medicare through
contractors. Medicare Part D paid for certain prescription drugs for Medicare benefigiaries.

5. Medicaid was a health care benefit pro gram under Title 18, United States Code,
Section 24(b) that was administered by agencies of the various states to provide health care
benefits and services to those who qualified. Medicaid was funded jointly by the states and by

- CMS and paid for certain prescription drugs for Medicaid beneficiaries.

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' 6. Other public health care programs and private health care insurance providers
were health care benefit programs under Title 18, United States Code, Section 24(b) that paid for
‘certain prescription drugs for their beneficiaries.

LEGAL AUTHORITY

7, The Federal Food, Drug, and Cosmetic Act (*FDCA"), Title 21, United States

Code, Sections 301, ef seq., provided that no drug could be marketed i in interstate commerce

: unless it had been approved by the Food and Drug Administration (“FDA”).

8. The Orphan Drug Act (“ODA”), Title 21, United States Code, Sections 360aa, et
seg., provided that the FDA could designate a drug ’as an “orphan drug,” and upon approving the
drug, would not approve another drug for the same disease or condition for seven years.

9. The Drug Price Competition and Patent Term Restoration Act (“Hatch-Waxman
Act”), Title 21, United States Code, Section 355G), provided that the EDA could approve generic _
drugs without requiring all of the clinical testing required for new drugs.

10. The Drug Addiction Treatment Act (“DATA”), Title 21, United States Code,
Section 823{g), authorized registered health care providers to prescribe certain opioid drugs in
Schedules III, IV , or V of the Controlled Substances Act (“CSA”), Title 21, United States Code,
Section 801, et. seg., for the treatment of opioid addiction/dependence outside a treatment clinic.
The DATA limited the maximum number of patients a provider could so treat at any one time,
Through in ot about J uly 2016, the maximum limit for any one provider was 100 patients ata
time. In or about August 2016, the maximum limit was raised to 275 patients at a time.

11. Title 21, Code of Federal Regulations, Part 1306.04, stated that a prescription for
a controlled substance was effective only if issued for a legitimate medical purpose bya

practitioner acting in the usual course of his or her professional practice.

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SUBOXONE TABLET AND SUBUTEX TABLET

12. Opioid addiction/dependence was and is an epidemic. Some individuals seeking
to recover from opioid addiction/dep endence continued taking opioids under medical
supervision, to avoid or reduce withdrawal symptoms while they sought to recover. The only -
opioid approved for use in such treatment outside a treatment clinic (i.e., that a patient could take
home) was buprenorphine, a Schedule UI controlled substance under the CSA!

13. On or about October 8, 2002, INDIVIOR received FDA approval of the first
puprenorphine-containing drugs for use in the treatment of opioid addiction/dependence:
Suboxone Sublingual Tablet (‘Suboxone Tablet”) and Subutex Sublingual Tablet (“Subutex
Tablet”). The FDA designated both as orphan drugs, meaning the FDA committed not to
approve any competitor drug for seven years (the “exclusivity period”). -

14. Suboxone Tablet contained buprenorphine and another substance, naloxone.

Suboxone Tablet was intended to be taken by placement under the tongue until dissolved. The

‘naloxone generally was not active when taken under the tongue as intended, but could precipitate

withdrawal rf the drug were taken in other ways (e.g., injected). Daily doses of Suboxone Tablet

containing more than 24 milligrams (“mgs”) of buprenorphine were not shown to provide any

clinical advantage over lower doses. Pharmacies typically dispensed Suboxone Tablet in bottles

with child-resistant caps. Before in or about 2013, another subsidiary of Company A
manufactured Suboxone Tablet in Hull, England, United Kingdom, and INDIVIOR marketed

and distributed it throughout the United States. ©

 

! Buprenorphine i is an opioid partial agonist with a morphine milligram equivalent conversion
factor (°MME- CF”) 20 times higher than oxycodone.

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15. Subutex Tablet was similar to Suboxone Tablet, but did not include naloxone. It
was intended for certain patient populations, such as patients hypersensitive to naloxone.
Pharmacies typically dispensed Subutex Tablet in bottles with child-resistant caps. Before in or
about 2011, another subsidiary of Company A manufactured Subutex Tablet in Hull, England,
United Kingdom, and INDIVIOR distributed it throughout the United States.

SUBOXONE FILM AND THE PLAN TO MARKET IT

16. Byin or about 2007, INDIVIOR’s and Company A’s annual revenue from sales
of Suboxone Tablet and Subutex Tablet had grown to more than $260 million, but they forecast
they would lose most of that revenue to competitor drugs, particularly generic versions of
Suboxone Tablet, after the exclusivity period ended on October 8, 2009. .

17. Between in or about December 2006 and March 2007, INDIVIOR and Company
A began developing a new buprenorphine-containing drug for use in the treatment of opioid
addiction/dependence: Suboxone Sublingual Film (Suboxone Film”). They believed Suboxone
Film would be protected by patents. They planned to promote Suboxone Film by claiming it was
safer than alternative drugs such as tablets, though there were no scientific studies to establish
that claim.

18. Additionally, between in or about December 2006 and March 2007, INDIVIOR,
Company A, and others discussed ways to delay FDA approval of generic versions of Suboxone
Tablet by discontinuing Suboxone Tablet under the pretext of a safety concem, thereby
triggering FDA safety-related pro cesses that could take as long as a year. They wrote, “We
could tie up generic for 1 year.... When we file for film and withdraw tablet [the FDA] is —
precluded from approving ancther tablet until they have made a determination im response to a

petition from generic company to determine that product was not withdrawn. for safety or

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efficacy:” a “negative safety issue” could “prevent approval of generic;” “We need to think
creatively about a safety story;” “we probably also need to think very negatively about [tablets]

and identify aspects that could be unsafe; “We cannot prevent generics ... We can delay;” and

a timeline for how long generics could be delayed.

19. On or about October 20, 2008, INDIVIOR submitted a new drug application

(“NDA”) for Suboxone Film to the FDA. (INDIVIOR did not seek approval of a film version of
Subutex )

20. Like Suboxone Tablet, Suboxone Film contained buprenorphine and naloxone,
was intended to be taken by placement under the tongue until dissolved, and daily doses
containing more than 24 mgs of buprenorphine were not shown to provide any clinical advantage
over lower doses. However, Suboxone Film differed from Suboxone Tablet in that it had a thin
form; stuck to the tongue/mouth; dissolved more rapidly; potentially had higher bioavailability at
certain doses; was formulated to taste better; and typically was dispensed by pharmacies in
individually wrapped, child-resistant foil pouches each bearing a serial number.

21. . Between in or about May 2009 and August 2010, while awaiting FDA approval of
Suboxone Film, INDIVIOR managers drafted marketing plans for the drug. The draft plans

listed “Key Success Drivers” for Suboxone Film such as “Driving physician prescriptions for

_ Suboxone film,” “Driving formulary support for Suboxone film through payors,” and “Driving

. patient Suboxone film trial,” and included the messages that Suboxone Film was “a more ©
responsible medication from a public health perspective,” was a “less divertible/abusabie

formulation,” and had a “lower risk of child exposure,” and that generic drugs would “jeopardize:
the entire disease space,” though there were no scientific studies to establish these claims. The

draft plans noted that public health care benefit programs such as Medicare, Medicaid, and the

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Veterans Administration paid for 27% of all Suboxone Tablet and Subutex Tablet prescribed,
while private health care benefit programs paid for 55%.
22. On or about June 9, 2009, INDIVIOR’s medical director told fellow INDIVIOR

medical personnel, “We need to develop a story about childhood exposures to set the stage for

- switching patients to” Suboxone Film.

23. On or about August 21, 2009, the FDA declined to approve INDIVIOR’s NDA
for Suboxone Film because it did not contain an adequate risk evaluation and mitigation strategy
(“REMS”) to address the FDA’s concems about misuse, abuse, and accidental overdose.

* 24, On or about October 5, 2009, INDIVIOR sent a letter to the FDA, asking whether
the FDA agreed that Suboxone Film’s packaging would protect against diversion (e.g¢., illegal
selling, sharing, and smuggling of Suboxone) and accidental child exposure (ie. children taking
Suboxone by accident). The FDA did not immediately respond. INDIVIOR executives and
others internally discussed that the FDA could disagree, for reasons including that it was not
clear how physicians would use the serial numbers on Suboxone Film packages to deter
diversion, and “there is an incremental risk of the film since once a child ingests the film it will —
be nearly impossible to remove vs. tablets.”

. 25, On or about November 24, 2009, INDIVIOR resubmitted its NDA for Suboxone
Film to the FDA, including a REMS.

26.  Onor about J anuary 22, 2010, INDIVIOR’s chief executive officer told Company
A executives, “Our immediate focus is to get the FDA approval for [Suboxone Film] asap to

switch the business ahead of the generic.”

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27. On or about March 29, 2010, the FDA responded to INDIVIOR’s October 5, 2009
letter that sought the FDA’s agreement that Suboxone Film’s packaging would protect against
diversion and accidental child exposure, stating: ©

The Agency will not comment on whether the serial numbers [on
Suboxone Film’s packaging] would lead to a decrease in diversion
of a drug product, because drug diversion issues are regulated by
DEA,

No, we do not agree that the packaging for [Suboxone Film]
provides meaningful incremental protection against pediatric
exposure. Although the foil pouches fulfill the child resistant
effectiveness standards and the foil pouch bears warming
statements alerting patients to keep out of reach of children, no
data were provided to support that these measures will encourage
patients to store [Suboxone Film] in a manner which prevents
accidental pediatric ingestion. Because patients are known to
divide tablets, it may be expected that patients will remove films
from the package and have partial doses that are neither in the
child-resistant pouch nor in a child-resistant medication bottle. .
Furthermore, because the film cannot be spit out (unlike a tablet) it
is possible that a child who obtains access to even one dose might
be more adversely affected than a child who obtains access to a
single tablet.

28. INDIVIOR executives, managers, and personnel understood from the FDA’s
response that they lacked substantiation to inform health care providers that Suboxone Film was
safer than alternative drugs such as tablets. INDIVIOR executives and managers wrote to each
other, “The FDA has stated that we have no proof that patients will not take the film out of the

[pouch] and cut it into multiple doses. Thus not reducing potential exposure. :.. Even then the

FDA points out that the film may not be swallowed thus making more buprenorphine available;”

that the FDA’s response could “be a bi gger issue as it may imply the overall risk/benefit i is not |
favorable for our film (vs tablet);” and, “It looks like they are trying to deny us the ability to

make a claim on additional paediatric safety of the film.” With regard to misuse, abuse, and .

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diversion, INDIVIOR executives, managers, and personnel knew that Suboxone Film’s thin form
potentially could make it easier to conceal, and thus more susceptible to smuggling than tablets; -
its individual packaging could make it more portable, including for reselling and sharing; and the
serial numbers on the pouches were not electronically tracked and not shown to deter diversion.
With regard to accidental child exp osure, they knew that Suboxone Film had attributes that

potentially could make it more dangerous to children, including that it stuck and could not easily

- be spit out if accidentally taken by a child; dissolved more rapidly, leaving less time to remove it

’ from a child’s mouth before absorption; had potentially higher bioavailability at certain doses,

potentially increasing the severity of an incident; was formulated to taste better, potentially
reducing the likelihood that a child would seek to remove it; and could not easily be re-secured
in its original packaging, which, unlike a bottle with a child-resistant cap, was not desi gned to be
re-closed.

2 9. - On or about August 30, 2010, the FDA approved Suboxone Film, including the
REMS and prescribing information for the drug, None of these materials stated that Suboxone
Film was safer than altemative drugs such as tablets, or reduced the risk of misuse, abuse,
diversion, or accidental child exposure. Nevertheless, INDIVIOR’s chief executive officer told
Company A executives including its chief executive officer and chief financial officer, “We will
be making the most of every minute between now and generic approval to convert our tablet
business to film,” including a “Full Blitz campaign for salesforce through Thanksgiving.” For
the full blitz campaign, INDIVIOR salespeople planned to raise “diversion and misuse and
pediatric safety” in sales presentations to physicians, even though there were no scientific studies

to establish that Suboxone Film was safer with regard to diversion, misuse, or pediatric safety.

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30. Suboxone Film was manufactured by another subsidiary of Company A in Hull,
England, United Kingdom, and a third party in Portage, Indiana. INDIVIOR marketed and -
distributed it throughout the United States.:

THE SCHEME AND ARTIFICE TO DEFRAUD

31. _ Between in or about 2006 and the date of this Indictment, INDIVIOR PLC,
INDIVIOR INC. (also known as Reckitt Benckiser Pharmaceuticals Inc.), and their executives,
employees, and agents did devise and intend to devise a scheme and artifice to defraud and to

‘obtain money and property from health care benetit programs by means of materially false and
fraudulent pretenses, representations, and promises, by (A) making materially false and
fraudulent statements and representations to health care providers to induce them to prescribe,

‘dispense, and recommend Suboxone Film; (B) preparing and causing to be prepared, and
shipping and causing to be shipped, materially false and fraudulent marketing materials
promoting Suboxone Film;.(C)} making materially false and fraudulent statements and
representations to and relating to state Medicaid administrators and others to promote Suboxone
Film; and (D) marketing Suboxone Film to health care providers to be prescribed and dispensed

in a careless and clinically unwarranted manner.

A. MATERIALLY FALSE AND FRAUDULENT STATEMENTS AND
REPRESENTATIONS TO HEALTH CARE PROVIDERS

32. Between in or about 2006 and the date of this Indictment, INDIVIOR PLC, -
INDIVIOR INC. {also known as Reckitt Benckiser Pharmaceuticals Inc.), and their executives,
employees, and agents made, and caused to be made, materially false and fraudulent statements -
and representations to health care providers to induce them to prescribe and dispense Suboxone

Film, and recommend the prescribing and dispensing of Suboxone Film.

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33. Onor about September 2, 2010 (about three days after Suboxone Film received
FDA approval), Company A’s chief executive officer emailed approximately 20 INDIVIOR
executives and managers, including INDIVIOR’s chief executive officer and marketing
personnel, stating that Suboxone Film was “safer,” and encouraging them to “convert [patients]
from tablets to films, thereby protecting our Net-Revenues in the USA.”

3 4. On or about September 6, 2010 (about a week after Suboxone Film received FDA
approval), an INDIVIOR national sales supervisor emailed approximately 50 INDIVIOR
salespeople, encouraging them to tell physicians that Suboxone Film was “safer because of the
packaging.”

35. On or about October 17, 2010, INDIVIOR’s chief executive officer told
INDIVIOR personnel to revise the performance appraisals and incentive programs for
salespeople to reward “film sales only.” He stated that INDIVIOR’s salespeople had “every
possible resource to enable them to generate demand for a scheduled narcotic that is being given
away for free to an addicted population,” and those without “adequate film sales” may be fired.
Thereafter, INDIVIOR revised the performance appraisals and incentive pro grams to be based
primarily on the percentage of Suboxone Film compared to tablet sales in the salesperson’s
territory (sometimes called the “film market share” or “film share”).

36. | Onor about October 25, 2010, INDIVIOR sales supervisors discussed baseless
“dialogue points? th that INDIVIOR salespeople were using to highlight Suboxone Film’s |
“advantages” to physicians and pharmacists, which included “Reduced misuse/diversion” and
“Public safety — reduced pediatric exposure.” On or about November 3, 2010, an INDIVIOR

sales supervisor emailed the dialogue points to INDIVIOR’s chief executive officer.

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37, In or about December 20 10, INDIVIOR’s vice resident fot clinical affairs met
with physicians in Califomia and elsewhere, and in the presence of INDIVIOR salespeople,
materiaily falsely and fraudulently stated to the physicians that Suboxone “Film addresses. child
safety and abuse and diversion” and was a “safer product.”

38. Onor about February 14, 2011, an INDIVIOR national sales supervisor instructed
a regional sales supervisor in Michigan and a sales representative in Ohio to:

not be afraid to let the physician know very clearly what you
believe. If you believe that Suboxone Sublingual Film will lower
pediatric exposure, or lower diversion and misuse let them know,
You are the expert and because ofall you have done, the
relationships you have built, they will be receptive to what you
believe. —

39. Onor about March 11, 2011, Company A’s chief executive officer materially
falsely and fraudulently stated in Company A’s public 2010 annual report that Suboxone Film
was “better from a child safety point of view, mak[ing] it more attractive for doctors to
prescribe.”

40.  Onor about April 13, 201 1, INDIVIOR’s chief executive officer materially
falsely and fraudulently stated in a corporate newsletter that Suboxone Film “has the potential for
greater child safety.”

41. In or about July 2012, at a Company A investor presentation, in the presence of
Company A’s chief executive officer, INDIVIOR’s chief executive officer materially falsely and
fraudulently stated that Suboxone Film was “less divertable and abusable.”

42. On or about the specified dates, in or around the specified states, INDIVIOR sales
representatives reported to their supervisors and their fellow sales representatives to use as

models for promoting Suboxone Film, the below-described statements and representations made

to physicians, pharmacists, and other health care providers to materially falsely and fraudulently

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induce them to prescribe and dispense Suboxone Film, and recommend the prescribing and

dispensing of Suboxone Film:?

 

Par.

Date

State

Report

 

43

9/1/2010

NY

INDIVIOR sales representative told physicians that Suboxone Film “offers
increased protection against misuse/abuse/diversion and pediatric exposure. Due
to this, and the fact that patients will be able to get the film at no cost, they have all
stated that they will prescribe the Film when it is available. ... Most pharmacists
have also been impressed with the new formulation and the steps the company has
taken to decrease diversion and pediatric exposure” .

 

44

9/10/2010

NC

INDIVIOR sales representative told a physician that Suboxone Film “offers
greater protection against pediatric exposure & misuse/diversion”

 

45

9/30/2010

SC

INDIVIOR sales representative met with a physician and “[d]iscussed pediatric
exposure & tablet diversion as reasons for MD to insist that pts switch from tablet
to film”

 

46

12/16/2010

MI

INDIVIOR sales representatives told physicians that Suboxone Film is the “safest
choice,” has “less chance of inadvertent use by kids,” can “protect the
community;” and can “protect office-based treatment” from being banned

 

4]

12/21/2010

CA

INDIVIOR sales representative told physicians that Suboxone Film “is a better |
safer medication” and “it would be unethical or inappropriate for us to promote the
tablet now that we have a better, safer product”

 

48

12/22/2010

ML

INDIVIOR-paid speaker told physicians that her “big plus for the Film was the
packaging and therefore making it a safer product for the community”

 

49

12/22/2010

INDIVIOR sales representative told physicians that during the holiday season,
Suboxone Film gives patients “added comfort in knowing their medication is safer
to have in the home as family and friends with small children will be visiting
more”

 

50

V6/2011

/

MI

INDIVIOR sales representative met with a physician who was “in the category of
trying out the film but not yet sold on it,” and stated that “it’s important [for the
physician] as a physician and mom to convert patients to the Film. The fact that
film helps to protect [office-based opioid treatment] and reduces pediatric
exposure appeared hard to ignore for the doctor. Hopefully that message will have
a louder voice in her head than the patients telling her they are ‘happy’ with the
Tablet”

 

51

1/14/2011

CA

INDIVIOR sales representative told physician and pharmacists that Suboxone
Film is a “safer product vs tablet” .

 

52

2/3/2011

INDIVIOR sales representative told a physician that patients who request tablets
do so “in order to divert them. [The physician] said that he may have become a bit
too trusting in his several years of treat[ing] patients. We spoke about how the
Film can ‘weed out’ those patients truly not committed to recovery. He promised
to convert ALL patients to Film”

 

 

53

(2/3/2011

 

 

UT

 

Physicians told an INDIVIOR sales representative that patients were “complaining

 

about the Film and asking to be put back on the tablet.” INDIVIOR sales

 

? These are illustrative examples, not an exhaustive list.

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representative responded by discussing “misuse and abuse of Suboxone tablets and
how the Film is the better, safer choice. I know that we will have more followup
in this office, due to these doctors’ new awareness of what is really happening
when some ask to be switched back to the tablet”

 

54

2/9/2011

TX

INDIVIOR sales representative told physicians “that many other doctors are going
‘film only’ because they want to provide the best quality-care to their patients with
the most efficacious, safest, and cost saving treatment and it has influenced several |
of them and they then have been interested in how others are doing this, how
patients are responding, etc. I believe it makes them feel more.confident to know
that others are doing this and it also makes them want to.do the same to keep up
with ‘quality care’ physicians”

 

55

3/2/2011

TX

INDIVIOR sales representative told physicians that Suboxone Film is‘ ‘newer,
easier, quicker and most importantly safer for the patients and their families, the
physicians and community”

 

56

3/2/2011

IN"

INDIVIOR sales representative met with a pharmacist and “had a candid
discussion as to why some patients want so badly to stay on the tablet even ata
higher price to them (diversion). [The pharmacist] is going to ‘hammer away’ at
[doctors who prescribed tablets] to get these patients on Film”

 

37

4/13/2011

IL

INDIVIOR sales representative told a physician and a pharmacist about “some of
the blogs I have read and about the reported child death. This seemed to really
impact them, and [the physician] said he has had some concern about a few
patients in the past. We discussed that while the film cannot stop misuse and
diversion, it can help prevent it, and our hope is to decrease the misuse and
diversion, as well as the number of pediatric exposures. The pharmacist in the

| building also attended the [presentation] and everyone agreed that ifa patient

came to the pharmacy with a prescription for the tablet, the pharmacist would cal]
back the office to see if it could be switched to film” _

 

58

A/14/2011

CA

INDIVIOR sales representative told a physician that Suboxone Film is “safer,

_better, and cheaper than the pills. What reason do you have not to convert all of

your patients to the film? She could not give a reason. She said she will switch -
her patients”

 

39

3/10/2011

CA

INDIVIOR sales representative told a physician that she would not help the
physician enroll in a patient-referral program “unless I knew those patients seeking
treatment would get a Comprehensive approach that includes the Safest
Medication on the Market for Opioid Dependency which ts the Film”

 

60

5/26/2011

UT .

INDIVIOR sales representative told physicians that Suboxone Film is “safer to

have around their family members”

 

61

6/8/2011

VA

| INDIVIOR sales representative told physicians that one doctor in the area

“converted all patients to Film and no longer give[s] a choice [between tablets and
film] due to rampant diversion of the tablet in the area, which borders Virginia,
Kentucky and Tennessee. This has been a great win and is something that I’ve
been able to tell all my other docs who have converted most of their patients but
not all”

 

 

62

WW7/2011

 

 

NC

 

INDIVIOR sales representative met with a physician who was “still giving [some]
patients the choice between the Suboxone Film and tablet.... I strongly .
encouraged [the physician] to protect herself, her practice and her medical license

 

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by prescribing Suboxone film to ALL of her patients. I said, ‘I don’t want any of
my physicians to find themselves on a witness stand defending their decision for
prescribing.Suboxone tablets which caused the death ofa child.” Hopefully that
statement convinced [the physician] to adopt a fail first policy on the Suboxone
film”

 

63. | 7/7/2011 OR | INDIVIOR sales representative asked a physician what was “holding [him] back
from the patient-preferred Film?” The physician stated that his “tablet patients are
doing well and are afraid of changing when they are doing well.” The INDIVIOR
sales representative then “talked about Tablet exposures to children and how [the
physician] can be their safety net by prescribing the Film rather than the Tablets
which he agreed with”

 

64 | 7/7/2011 CA | INDIVIOR sales representative was “working diligently with [a physician] in

order to get him to transition his considerable amount of tablet patients to the
Film. I am making progress with him. He’s been reluctant and has allowed his
patients the choice [between tablets and film]. I believe I’ve instilled in him the
importance of protecting public safety and [office-based opioid treatment], and
how, by prescribing the Film, he will help to make that happen”

 

65 | 7/18/2011 | PA | INDIVIOR sales representative “had an excellent conversation with [physicians]
. around more of the reasons why [they] might want to move more of their patients
off of tablets and onto the Film. They agreed it was a safer option and are proud
they are doing their part to protect our community”

 

66 | 7/21/2011 | DE | INDIVIOR sales representative met with physicians and pharmacists, “cap italizing
‘) on the Public Health Message and the importance of providing patients with a
safer option in the film”

 

67 | 7/21/2011 | PA _ | INDIVIOR sales representative told physicians, “You get the same clinical
efficacy [with Suboxone Film] as you get with tablets, possibly greater compliance
with improved taste and dissolve time, safety is improved within the public and
the home, and most patients get the Film for virtually free with the Savings
program. Why take the chance?”

 

68 | 9/2/2011 MD | INDIVIOR-paid speaker told physicians that Suboxone Film was “oreventing
pediatric death in graphic terms”

 

69 | 10/26/2011 | TN | INDIVIOR sales representative “led physicians to the internet so that they may see
how their decisions to prescribe any tablet over [Suboxone Film] may have a
negative impact on the community. There are current articles that [the tablet] kills
children all over the internet and this helps them to see the reasons to prescribe
[Suboxone Film] over the tablets.... One of my doctors . . . still has not
converted all of his patients to {Suboxone Film]. He was able to visit the internet
article to see how [Suboxone Film] could put safe guards in the community as well
as in his practice. Once he saw this information he committed to write all of the
[tablet] patients [Suboxone Film]. From the look on his face [he] was really
concerned about the safety of his patients”

 

70 =| 11/11/2011} VA | INDIVIOR sales representative made the following presentations to physicians:
oe “The physicians agree that we all have an obligation to protect the public health. {

have each physician [say] if they agree that it starts with THEM, the prescriber?

They do agree. Then WHY would you not prescribe the SAFEST medication

 

 

 

 

 

 

available? Is it worth the risk of pediatric exposure? Is it worth the risk of abuse

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and diversion? Is it worth the risk of ending office based treatment? It starts with
YOU, DOCTOR! Unfortunately, it does NOT end with you! It can end with
unintended consequences in the hands of people suffering from a terrible disease,
who are not known for making the best decisions! These discussions have really
opened the eyes of quite a few physicians who now realize their obligation.”
INDIVIOR sales supervisor singled out this presentation as a model presentation,
forwarding it to other INDIVIOR salespeople

 

 

 

 

 

 

 

71 12/5/2011 | IL, INDIVIOR sales representative collected “best practices” for convincing doctors,
IN, | pharmacists, and others to switch patients to Suboxone Film from others across the
KY, | region, including “Baby Death articles;” “Diversion with Tablets and high street
MI, | value of $25.00 per pill;” “Film harder to sell on streets;” “if patients call office
OH, | and ask if doctor writes the tablets (or pills) that is a patient you do not want—they
TN, | will be diverting and your office can or will be tied to that illicit drug;” “I inform
WV | my doctors (and pharmacists) that insurance companies are beginning to view the
film the same way we do... as the superior (safer) product;” “I focus on the
safety for their office as well as the general public, the fact [Suboxone Fiim] will
weed out the drug seekers and it will make their offices respectable and full of
patients who are serious about their recovery;” and “Patients are tempted to share
especially when they are doing well and want to help people that they care about .
. [Suboxone Film] will reduce this possibility”
72 | 201i! AZ, INDIVIOR sales representatives collected “best practices” for convincing doctors,
CA, | pharmacists, and others to switch patients to Suboxone Film from others across the
CO, | region, including “Once the dialogue opens up about community, safety etc, I
LA, | explain that we believe [Suboxone Film] is the safest medication available;” “[by]
MO, | providing the safest medication (FILM) you (physician, pharmacist, counselor,
OR, | office staff) are helping the patient ‘close the gaps’ in their treatment as well as
TX, | reducing the chance of misuse, abuse and diversion, which increases public
UT safety,” “Do you agree the Film is safer and less abusable than the tablet?;”
“(Suboxone Film is] a safer alternative to the tablet — safer for the patients, safer
for their families and more aligned with [INDIVIOR’s] goal to protect office-
based treatment;” and asking physicians “to imagine how devastated [their]
patients would be if one of those children were to get into a bottle full of
Suboxone tablets”
73. INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser

Pharmaceuticals Inc.), and their executives, employees, and agents knew that messages like those

described in paragraphs 33-72 of the Introduction to this Indictment materially influenced health

care providers to prescribe and dispense Suboxone Film, and recommend the prescribing and

dispensing of Suboxone Film. In or about January 2011, an INDIVIOR contractor reported to

INDIVIOR executives, managers, and personnel that in a survey of 245 physicians who had

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prescribed Suboxone Film, 68 ohysicians (approximately 28%) stated that they did so because it
“[d]ecreases misuse/abuse/diversion,” and 26 physicians (approximately 1 1%) stated that they
did so for “{s]afety re: inadvertent use by children.” Additionally, the physicians rated “Ability
to minimize unintentional pediatric exposure” and “Reduces the likelihood of misuse &
diversion” as the second and third leading reasons to prefer Suboxone Film, respectively.? More
than 80% of the physicians, and 98% of the high-prescribing physicians, stated that they learned
about Suboxone Film from INDIVIOR salespeople.

74.  INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.), and their executives, employees, and agents knew that the messages
described in paragraphs.33-72 of the Introduction to this Indictment, and others like them, were
false and fraudulent. In addition to the FDA’s letter of March 29,201 0, informing INDIVIOR
that it lacked substantiation to claim that Suboxone Film better protects against accidental child

' exposure (discussed above), on or about June 30, 2011, an INDIVIOR contractor reviewing
information as part of the Suboxone Film REMS told INDIVIOR that Suboxone Film was more
frequently abused parenterally (e.g., by injection) and involved in mote accidental child
exposures per million doses than Suboxone Tablet. INDIVIOR did not alert patients, physicians, -
pharmacists, health care benefit programs, or others to these findings, which cast doubt on -
INDIVIOR’s promotional messages about Suboxone Film. Subsequently, between in or about
December 2011 and February 2012, INDIVIOR’s compliance committee determined that
' INDIVIOR salespeople’s written reports of their promotional statements to physicians and
_ pharmacists (examples of which are set forth in paragraphs 43-72, above) posed “compliance

risks,” and discontinued the reports, without contacting patients, physicians, pharmacists, health

 

“Speed of dissolving” was first.

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care benefit programs, or others to correct or retract the promotional statements reflected in the
reports. In or about November 2012, INDIVIOR’s medical director, vice president for clinical
affairs, and others discussed attributes of Suboxone Film that potentially could make it more
dangerous to children, such as‘that, “With a tablet, they’ve got options. They can spit it out.
They can swallow it. With the film, not necessarily. We know, it’s stuck” in the child’s mouth.
75. ° Inor about 2012-13, INDIVIOR managers discussed that, “Under no

circumstances can we make the claim that Suboxone Film is safer or better at reducing pediatric
exposures,” and “Saying Suboxone Film is safer than any tablet on the market because Film has
less ability to be snorted/inj ected fis an] unsubstantiated superiority claim,” but did not contact _

patients, physicians, pharmacists, health care benefit programs, or others to correct or retract the
promotional statements INDIVIOR salespeople had already made,

B. MATERIALLY FALSE AND FRAUDULENT MARKETING MATERIALS
PROMOTING SUBOXONE FILM

76. Between in or about 2010 and the date of this Indictment, INDIVIOR PLC,
INDIVIOR INC. (also. known as Reckitt Benckiser Pharmaceuticals Inc.), and their executives,
employees, and agents prepared and caused to be prepared, and shipped and caused to be shipped
by mail and private or commercial interstate carrier to their.executives and employees and others
throughout the United States, written marketing materials used to promote Suboxone Film that
contained materially false and fraudulent statements and representations, including the

following:
a, Suboxone Film was “Helping Address Public Health Needs:”
b. Suboxone Film could “Help Address Misuse and Abuse;”
c. Suboxone Film “Can Be Part of the Solution” to “misuse,” “diversion and

abuse,” and “unintentional pediatric exposure;”

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d. “Nearly half of Suboxone Film prescribers surveyed cited ‘potential for

reduction of abuse and diversion’ as a reason to prescribe vs Suboxone Tablet,” when in

fact, only 28% of the prescribers had cited that supposed reason, many of them after

receiving fraudulent sales presentations from INDIVIOR;

e. A false and fraudulent chart with the heading, “Suboxone F ilm—Helping
to Reduce the Risk of Pediatric Ex posure,” that purported to depict pediatric exposure
data for Suboxone Tablet and Suboxone Film, but intentionally omitted other data from
the same study that showed that buprenorphine-only tablets also had low pediatric

exposure, and therefore called into question the claim that Suboxone Film reduced

pediatric exposure. An INDIVIOR employee asked INDIVIOR’s medical director, “I

couldn’t help but notice that the chart did not show the [buprenorphine-only tablets] line.

Does that mean we can also show the graph without [that] line? That would make such a

huge difference!” INDIVIOR’s medical director responded, “That chart is now published

so nock [sic] yourself out!”

f A false and fraudulent pair of charts with the heading, “Suboxone...

~ Film—associated with lower rates of diversion and abuse .. .” that purported to depict

diversion and abuse data for Suboxone Tablet, buprenorphine-only tablets, and Suboxone
Film, but intentionally omitted two other charts from the same page of the same study
that showed that Suboxone Tablet and buprenorphine-only tablets had diversion and
abuse rates similar to Suboxone Film during certain time periods, and therefore called
into question the claim that Suboxone Film was associated with lower rates of diversion

and abuse.

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77. On various dates, INDIVIOR PLC, INDIVIOR INC. {also known as Reckitt
Benckiser Pharmaceuticals Inc.), and their executives, employees, and agents shipped and caused
to be shipped by mail and private or commercial interstate carrier, copies of marketing materials
described in paragraph 76 of the Introduction to this Indictment, from a contractor in New Jersey

to sales representatives throughout the United States, including:

a. a sales representative in Roanoke, Virginia, who promoted Suboxone Film
to physicians, pharmacists, and others in locations including Blacksburg, Cedar Bluff,
Charlottesville, Christiansburg, Danville, Galax, Lynchburg, Roanoke, Salem, Staunton, -
Willis, and Wytheville, Virginia, and .

b. a sales representative in Greeneville, Tennessee, who promoted Suboxone

Film to physicians, pharmacists, and others in locations including Abingdon, Big Stone
Gap, Bristol, Coeburn, Glade Spring, Lebanon, Marion, Norton, Pennington Gap, Pound,
Saint.Charles, Tazewell, and Wise, Virginia.
Cc. MATERIALLY FALSE AND FRAUDULENT STATEMENTS AND

REPRESENTATIONS TO AND RELATING TO STATE MEDICAID
ADMINISTRATORS AND OTHERS

78. Between in or about 2006 and the date of this Indictment, INDIVIOR PLC,
INDIVIOR INC. {also known as Reckitt Benckiser Pharmaceutic als Inc.), and their executives,
employees, and agents made, and caused to be made, statements and representations that
INDIVIOR was discontinuing the distribution of Suboxone Tablet due to safety concerns, when
in fact, the reason for discontinuing the distribution of Suboxone Tablet was to delay the FDA’s
approval of generic versions of Suboxone Tablet.

79. Between on or about January 6, 2012, and September 14, 2012, INDIVIOR and

Company A, knowing that potential competitors were preparing applications for FDA approval

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of generic versions of Suboxone Tablet, retained contractors to review and analyze notes of
telephone calls to poison control centers regarding accidental child exposure.

80. On or about June 21, 2012, Company A’s investor relations director emailed
Company A’s chief executive officer, INDIVIOR’s chief executive officer, and others,
referencing “our plans” to withdraw Suboxone Tablet’s FDA approval in order to delay FDA

~ approval of generic versions of Suboxone Tablet, Company A’s general counsel responded by
emailing Company A’s chief executive officer, chief financial officer, and investor relations
director, and INDIVIOR’s chief executive officer and general counsel, and others, stating,
“please do not create any emails or other documents suggesting that we would consider”
attempting to delay FDA approval of generic versions of Suboxone Tablet in this way, and “any
decision we make will be based on consumer safety.”

81: On or about August 31, 2012, INDIVIOR’s and Company A’s contractors
provided them with an “interim report” that failed to include any finding that Suboxone Film was
safer than tablets with regard to accidental child exposure, or caused any drop in exposures. The
interim report stated, “there remains considerable uncertainty in our ability to use root cause
analysis for identifying the role of select factors in these unintentional pediatric exposures,” and
that the data were “insufficient to make any final conclusions regarding the severity of effects
associated with specific buprenorphine medications or the child-resistance efficacy of pro duct
packaging types.” The INDIVIOR manager overseeing the project stated that the interim report
was a “worthless, empty shell.”

82. On or about September 14, 2012, INDIVIOR executives caused the preparation of
a public relations strategy for discontinuing Suboxone Tablet, indicating that INDIVIOR would

dispel the “ [p] erception of discontinuation as a means for blunting generic/competitive entry”

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and convey a “*[w]e must be responsible’ sentiment.” On or about the same day, INDIVIOR’s

and Company A’s contractors provided INDIVIOR and Company A with a three-page

“executive summary” that failed to include any finding that Suboxone Film was safer than tablets
with regard to accidental child exposure, or caused any drop in exposures. The summary stated
that there were fewer references to Suboxone Film than tablets in the telephone call notes, but

the reasons for this could not be determined, and “any results related to the original packaging
should be interpreted with considerable caution” because many of the notes did not indicate
whether the drug had been in the packaging or left outside the packaging by an adult.

83. Onor about September 18, 2012 (about four days later), INDIVIOR and
Company A sent a “Notice of Discontinuance” of Suboxone Tablet to the FDA, stating that the
reason for the discontinuance was “increasing concems regarding pediatric exposure to”
Suboxone Tablet. INDIVIOR’s and Company A’s respective chief executive officers approved
the notice, even though they knew the primary reason for the discontinuance was to delay FDA
approval of generic Suboxone.

84. On or about September 25, 2012, INDIVIOR and Company A submitted a
petition to the FDA, signed by INDIVIOR’s medical director, stating that INDIVIOR
discontinued Suboxone Tablet “due to safety concerns” about tablets, and asking the FDA not to
approve generic versions of Suboxone Tablet. INDIVIOR’s and Company A’s respective chief
executive officers approved the petition, even though they knew the primary reason for the
discontinuance was to delay FDA approval of generic Suboxone.

85. The petition referenced a new, five-page version of the executive summary, which
INDIVIOR and Company A executives and others had participated in altering, but kept dated

September 14, concealing the fact that it was altered from the version. they originally cited for

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discontinuing Suboxone Tablet. The alterations included deleting the statement that “any results
related to the original packaging should be interpreted with considerable caution,” and adding —
— conclusions.

86. Onor about September 25, 2012, Company A posted on its website a press
release stating that Suboxone Tablet was discontinued “due to Increasing concerns with pediatric
exposure.” INDIVIOR’s and Company A’s respective chief executive officers approved the
press release, even though they knew the primary reason for the discontinuance was to delay
FDA approval of generic Suboxone.

87. INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.), and their executives, employees, and agents used the discontinuation of
Suboxone Tablet to materially falsely and fraudulently market Suboxone Film. Between on or
about September 18, 2012, and the date of this Indictment, they prepared and caused to be
prepared, and shipped and caused to be shipped by mail and private or commercial interstate.
carrier to their executives and employees and others throughout the United States, letters signed
by INDIVIOR’s medical director and used to promote Suboxone Film that contained materially
false and fraudulent statements and representations, including the following:

a. “Dear Patient ... The decision to take Suboxone Tablets off the market

was a voluntary choice made by [INDIVIOR] as a result of recent information the
company received showing higher rates of accidental pediatric exposure (when a child
accidentally takes the medicine) linked with the tablet form. If you are currently taking

Suboxone Tablets, continue taking your medication and ask your doctor about how to

transition to Suboxone Film... .”

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b. “Dear Healthcare Professional ... As we continue to work together to

\ improve the health and well-being of opioid-dependent individuals, we would like to

personally inform you about an important medication update .... The decision to
discontinue Suboxone Tablets was based on accumulating data demonstrating

significantly lower tates of accidental pediatric exposure with Suboxone (Film| compared
with the tablet form. ... We remain committed to supporting you with updated
information and resources to ensure you have the tools you need to educate and transition
your patients to Suboxone Film... . We thank you for your continued support of
[INDIVIOR] as we uphold our commitment to patients and the safety of the public.”

88. On various daies, INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt
Benckiser Pharmaceuticals Inc.), and their executives, employees, and agents shtpped and caused
to be shipped by mail and private ot commercial interstate cartier, copies of marketing materials
described In paragraph 87 of the Introduction to this Indictment from a contractor in New Jersey

to sales representatives throughout the United States.
89." Onor about December 4, 2012, the lead researcher from one of FNDIVIOR’s and
_ Company A’s contractors that had reviewed and analyzed notes of telephone calls to poison
control centers emailed fellow researchers, stating that by using the research to supposedly
justify discontinuing Suboxone Tablet, INDIVIOR and Company A “played us as a pawn and -
continues to do 80. They are smart people, and they are playing a Machiavellian game.”
90. It was also a part of the scheme and artifice to defraud that INDIVIOR PLC,
INDIVIOR INC. (also known as Reckitt Benckiser Pharmaceuticals Inc.), and their executives,
employees, and agents made, and caused to be made, materially false and fraudulent statements

and representations to and relating to state Medicaid administrators and others, claiming that

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Suboxone Film was safer than tablets with regard to misuse, abuse, diversion, and accidental

child exposure. These materially falseand fraudulent statements and representations included

representations by employees, physicians, and agents, acting on behalf of the defendants,

including those on or about the dates set forth below, in or around the specified states, and sent

by the physician, employee, or agent identified below:*.

 

Date

State

Sent by

False and Fraudulent Statement and Representation

 

Par.

9]

5/7/2011

MA

Physician, at
direction of

INDIVIOR Gov.

Mgrs.

Op-Ed Letter to The Boston Globe, The Boston Herald, and

‘The Patriot Ledger: Suboxone Film was “preventing diversion,

recidivism, and the accidental death of inquisitive children,”
and by declining to provide Medicaid coverage of Suboxone
Film, MassHealth officials were “engaging in 21st century
biological warfare, no different than giving small pox infected
blankets to the Indians”-

 

92

5/30/2011

CA .

INDIVIOR
Publicist

| for Policy and Program Decision-makers: “

Quote for article in Alcoholism & Drug Abuse Weekly, News
the main value of
[Suboxone Film] is that it is less easily diverted because
physicians can track the numbered unit-dose packaging, and it
is safer because the packaging is child-resistant.” INDIVIOR’s

| marketing director emailed INDIVIOR’s chief executive

officer, president, medica] director, and others stating that
“Tt]here does seem to be some liberty taken with regards to
early comments attributed to” INDIVIOR’s publicist, but
INDIVIOR did not correct or retract the comments

 

93

6/23/2011

MA

Physician, at
direction of

INDIVIOR Gov.

Mgrs.

Email to MassHealth officials: “there is less opportunity for
diversion with” Suboxone Film, “there is less chance that a
curious child will ingest the film,” and “the inaction by the
policy makers of MassHealth can be seen just as Strom
Thurmond’s filibuster in opposition of the Civil Rights Act of = |
1957.” Physician subsequently emailed INDIVIOR Gov. Mgrs.
requesting that INDIVIOR donate $30,000 to his foundation
and give him a Harley-Davidson Road King motorcycle as
payment :

 

 

94

10/16/2012

 

 

MA °

 

INDIVIOR Med.

Mgr.

 

Email to MassHeaith pharmacy director: altered, inaccurate
pediatric exposure data for Suboxone Film, Suboxone, Tablet,
and buprenorphine-only tablets, making it appear as though
Suboxone Film had the lowest rate of pediatric exposure in
Massachusetts when, in fact, buprenorphine-only tablets did.
INDIVIOR Med. Mgr. sent INDIVIOR’s medical director email
chains showing that she had altered the data, and stating that

 

 

“ These are illustrative examples, not an exhaustive list.

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she sent the altered data to “help us get some movement in
Mass” on Medicaid coverage of Suboxone Film. Upon

-receivin g additional data unfavorable to Suboxone Film,

INDIVIOR Med. Mer. declined to provide it to Medicaid
personnel, and told INDIVIOR government managers that her
rationale for withholding the unfavorable information from
Medicaid personnel was, “don’t ask, don’t tell”

 

 

 

95 | 4/18/2013 |KY | INDIVIOR Gov. | Email to KY Department for Medicaid Services commissioner
Mer. and and other officials: Compared to Suboxone Film, the tablet
INDIVIOR Med. | form “increases the risk of diversion with adult recipients
because it can be crushed and snorted. ... [S]ometimes
leadership requires you to make a decision locally to protect the
residents of the State of Kentucky that you serve. You’ve
_| chosen not to... .”
96 | Before KY | INDIVIOR Sales | Model form letters shown to physicians to send toKY
12/2013 Representative Department for Medicaid Services contractors: request for pre-

 

 

 

 

authorization for payment of Medicaid clatms for Suboxone
Film because “Suboxone filmstrips are medically necessary to
properly manage the post acute withdrawal process. Filmstrips
are necessary in lieu of sublingual tablets because many adverse
side effects are found to be prevalent in tablet form. Patient’s
[sic] present with constant salivation, discomfort, agitation,
dissolution unnecessary prolonged. Also, feelings of
disorientation, plus a craving for tablets in general, thus.
hindering the addiction recovery process and increasing
probability of relapse. Use of filmstrips has diminished the
adverse side effects of tablets. Use of filmstrips eliminates the
abuse of tablets, and variation from the prescribed method of -
ingestion”

 

 

D. MARKETING SUB OXONE FILM TO HEALTH CARE PROVIDERS TO BE
PRESCRIBED AND DISPENSED IN A CARELESS AND CLINICALLY

UNWARRANTED MANNER
97.

Beginning on an unknown date, but no later than on or about April 9, 2009, and

continuing through the date of this Indictment, INDIVIOR PLC, INDIVIOR INC. (also known

as Reckitt Benckiser Pharmaceuticals Inc.), and their executives, employees, and agents did aid,

abet, counsel, command, induce, and procure physicians at various locations throughout the

United States who they knew were prescribing buprenorphine-containing drugs to more patients

at a time than allowed by federal law (ie., the DATA), at daily doses higher than 24 mgs of

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buprenorphine (i.e., in excess of the maximum dose of any demonstrated additional clinical
advantage), and in a careless and clinically unwarranted manner, to switch their prescribing to
_ Suboxone Film.
98. One way in which INDIVIOR encouraged physicians to prescribe Suboxone Film
_was by including them in INDIVIOR’s intemet and telephone referral program, called “Here to
Help.” Patients and prospective patients could use the “Locate a Doctor” tool on the Here to
Help website to find physicians prescribing buprenorphine-containing drugs, and could call the
Here to Help hotline to receive information about certain physicians and have the call transferred
toa physician's office to schedule an appointment. INDIVIOR salespeople told physicians that
Here to Help was “like a concierge service.”
99. Additionally, INDIVIOR salespeople provided physicians with marketing
materials, billing advice, and access to lunch and dinner events through INDIVIOR’s “Treatment
Advocate” speaker pro gram, including physicians they knew were prescribing buprenorphine-
containing drugs to more patients at a time than allowed by federal law (i.e., the DATA), at daily
doses higher than 24 mgs of buprenorphine (i.e., in excess of the maximum dose of any
demonstrated additional clinical advantage), and in a careless and clinically unwarranted manner.
100. INDIVIOR executives, employees, and personnel knew from statistical and
firsthand reports that certain physicians had prescribed buprenorphine-containin g drugs to
substantially more patients at a time than allowed by the DATA, at daily doses higher than 24
mgs of buprenorphine, and in a careless and clinically unwarranted manner. No later than in or
about April 2009, INDIVIOR managers began receiving statistical reports that identified
physicians overprescribing buprenorphine-containing drugs. One manager emailed another,

copying INDIVIOR’s medical director, stating, “It takes only a short time perusing the

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[statistical reports] to realize that we have some serious breaches of [the DATA law’s cap on the
number of patients a physician may treat] along with very careless and clinically unwarranted
prescribing behaviors (% of patients above 24mg),” and certain physicians “need to be removed
from the [buprenorphine] practice arena.” INDIVIOR managers alsé received firsthand reports
from INDIVIOR salespeople and medical advisors that particular physicians were engaged in
“continuous prescribing to patients known to be trafficking in Suboxone/Subutex;” allowing
“prescriptions [to be] given when provider not present in office;” “chargJing] 400 per mont for
prescriptions; and suspected of allowing “overt trafficking in provider's parking lot.”

101. INDIVIOR executives were aware of the careless, clinically unwarranted
prescribing. On or about July 22, 2009, INDIVIOR’s chief executive officer wrote to
INDIVIOR’s vice president for clinical affairs, “I think that the process for reporting rogue
physicians is going to be very important.” On or about July 14, 2010, INDIVIOR executives met
and discussed data indicating that the 564 hi ghest-preseribing physicians in the United States
prescribed buprenorphine-containing drugs to an average of more than 200 patients at a time, and

~ the highest prescribers, which INDIVIOR called “Super P8s,” accounted for 33% of
INDIVIOR’s business.

102. INDIVIOR continued to include physicians it knew were issuing careless,
clinically unwarranted opioid prescriptions in the Here to Help and Treatment Advocate
programs, and otherwise market Suboxone Film to them. On or about the stated dates, the

- identified INDIVIOR executives, employees, and agents communicated the information
described below relating to aiding, abetting, counseling, commanding, inducing, and procuring
Doctor A, located in or around Cedar Bluff, Galax, and Willis, Virginia, to switch prescriptions

to Suboxone Film where Doctor A exceeded the maximum number of patients allowed at a time,

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‘where daily doses exceeded the maximum indicated for additional clinical advantage, and where

prescriptions were issued in a careless and clinically unwarranted manner:

 

Personnel

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Par. Date(s) Information .
103 7/17/2008 | INDIVIOR Risk Email: INDIVIOR Risk Mer. suspected that Doctor A’s clinic
Mgr. to INDIVIOR | was one of two possible sources of “t to 2 controlled buys of
| Med. Advisor -| Suboxone per week” by law enforcement
104 4/9/2009. INDIVIOR Risk Received statistical report: Doctor A prescribed buprenorphine-
Mer. and others containing drugs to 805 individuals in February 2009, at daily
doses higher than 24 mgs of buprenorphine to 428 of those
individuals

105 8/28/2009 | INDIVIOR Sales Firsthand report: Doctor A intentionally mislabeled

Spvsr. to INDIVIOR | prescriptions for buprenorphine-containing drugs as being for
Risk Mer. pain management, when also prescribed for optoid addiction, to
evade detection for violating the DATA patient limit

106 4/30/2010, | “Here to Help” Here to Help operators referred opioid-addiction/dependence
6/1/2011, telephone operators} patients to Doctor A, using lists of enrolled prescribers in the
9/2/2011, patients’ geographic areas

- 10/6/2011

107. | 2011 INDIVIOR Sales Reports: met with Doctor A at least 28 times to encourage
Rep. toINDIVIOR | Doctor A to prescribe Suboxone Film
Sales Spvsr.

108 5/1/2012 “Here to Help” Here to Help operator referred an opioid-addiction/dependence
telephone operator: | patient to Doctor A, using a list of enrolled prescribers in the

. patient’s geographic area

‘109 5/16/2012 | INDIVIOR Sales Email: successfully convinced Doctor A to switch to
Rep. to INDIVIOR prescribing Suboxone Film, as “Basically I lived with [Doctor
Med. Advisor A] last fall, seeing her once or twice a week, every week, even

| Saturdays; and eventually it paid off and her share of tablet vs
_| film completely flip flopped”

110 4/12/2013, | “Here to Help” Here to Help operators referred opioid-addiction/dependence .
4/26/2013 | telephone operators | patients to Doctor A, using lists of enrolled prescribers in the

patients’ geographic areas

lll. 9/10/2013 | INDIVIOR Sales Firsthand report: Doctor A is “[ml]assively over cap [the

' - | Rep: toINDIVIOR | maximum patient limit allowed under the DATA]... she also
Risk Mer. overdoses. ... This has been an ongoing problem since I started
that only continues to get worse”

112 12/13/2013, | “Here to Help” Here to Help operators referred opioid-addiction/dependence
11/3/2014, | telephone operators | patients to Doctor A, using lists of enrolled prescribers in the —
3/10/2015, - patients’ geographic areas
3/13/2015,

3/18/2015,

 

 

> These are illustrative examples, not an exhaustive list.

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H/8/2015

 

4/27/2015,
5/26/2015,
5/26/2015,
6/18/2015,

 

 

 

113.

On or about the stated dates, the identified INDIVIOR executives, employees, and

agents communicated the information described below relating to aiding, abetting, counseling,

commanding, inducing, and procuring Doctors B and C, located in or around Johnson City,

Tennessee, to switch prescriptions to Suboxone Film where Doctors B and C exceeded the

maximum number of patients allowed at a time, where daily doses exceeded the maximum _

indicated for additional clinical advaritage, and where prescriptions were issued in a careless and

clinically unwarranted manner: -

 

Par.

Personnei

 

 

 

 

 

 

 

 

telephone operator

 

Date(s) Information

114 | 4/9/2009 INDIVIOR Risk Received statistical report: in March 2009, Doctor B prescribed

Mgr. and others buprenorphine-containing drugs to 650 individuals, at daily doses

higher than 24 mgs of buprenorphine to 618 of those individuals,
and Doctor C prescribed buprenorphine-containing drugs to 635
individuals, at daily doses higher than 24 mgs of buprenorphine to
272 of those individuals

11S | 4/9/2009 INDIVIOR Email re statistical report: “Notice your favorite, [Doctor Bi, is still

Employee, at the top. I think now you can feel much more certain that he is

INDIVIOR Med. likely a big source of diversion — 95% (61 8) of his patients are

Advisor, and over 24mg. Wow!”

INDIVIOR Sales Email further discussing report: “It appears that the ‘high’ doses

Spvsr. may be the contributing factor to the diversion that continues to be

reported in the Tri-Cities area of SE KY, NE TN, and SW VA”

116 | 5/28/2009 | INDIVIOR Risk Email: “I am concerned about the Tri-Cities area in northeast

| Mgr. to INDIVIOR | Tennessee (also includes southeast KY and southwest VA).

Exec. Physicians are prescribing for too many patients and the dosing is
very high in some circumstances. 14 treating over 200 patients —
range 200 to 800. 8 of 14 are prescribing doses >24 mg for at least

. 50% of their patients”

117 | 7/6/2009, | “Here to Help” Here to Help operators referred opioid-addiction/dependence
12/14/2009, | telephone operators | patients to Doctor C, using lists of enrolled prescribers in the
12/18/2009 patients’ geographic areas

118 | 2/3/2010 “Here to Help” - Here to Help operator referred an opioid-addiction/dependence

patient to Doctor B; using a list of enrolled prescribers in the
patient’s geographic area _

 

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Here to Help operator referred an opioid-addiction/dependence

 

 

 

 

 

 

 

 

 

 

 

 

 

119 | 2/5/2010 “Here to Help”
telephone operator patient to Doctor C, using a list of enrolled prescribers in the
patient’s geographic area
120 | 4/8/2010 | INDIVIOR Sales Email: Doctor B is “well over the allowed patient cap,” and
. Sprvsr. to’ Doctor C’s office “will prescribe to as many patients as they can fit
INDIVIOR National | in [while physicians are] in about 2-3 hours each week. In that
Sales Sprvsr. time they quickly see the patient & provide a script”
121 | 6/2/2010 “Here to Help” Here to Help operator referred an opioid-addiction/dependence
telephone operator patient to Doctor | C, using a list of enrolled prescribers in the
patient’s geographic area
‘| 422 | 11/20/2010 | INDIVIOR Exec. to | Award: INDIVIOR sales rep. marketing Suboxone Film to Doctors
INDIVIOR B and C named Suboxone Film Marketing Blitz “Contest Winner”
Salespeople and credited with “incredible performance .. . 13 times the initial
Contest patient threshold”
123 | 2010 INDIVIOR Exec. to | Award: INDIVIOR sales rep. marketing Suboxone Film to Doctors
INDIVIOR B and C recognized as INDIVIOR’s sales rep. of the year
Salespeople
124 | 2010-2011 | INDIVIOR Sales Reports: met with Doctors B and C at least 75 times to encourage
Rep. to INDIVIOR | them to presertbe Suboxone Film
Sales Sprvsr. .
125 | 1/23/2012 | “Here to Help” Here to Help operator referred an opicid-addiction/dependence
telephone operator patient to Doctor C, using a list of enrolled prescribers in the
patient’s geographic area
126 | 4/22/2013 | INDIVIOR Sales Conversation: “It’s a liability almost that we’re even walking into
Rep. and INDIVIOR | these offices, these two main clinic offices [of Doctor C], because
Sales Sprvsr. to of how criminal it is. Like they have a Vegas-style cash machine
INDIVIOR Mgr. sitting behind the office where they’re taking stacks of hundreds
and shoving it in there while we’re trying to like, detail the nurse.
It’s like the mob. It’s awful”
127 | 8/9/2013 “Here to Help” Here to Help operator referred an opioid-addiction/dependence
telephone operator patient to Doctor C, using a list of enrolled prescribers in the
4 patient’s geographic area
128. On or about the stated dates, the identified INDIVIOR executives, employees, and

agents communicated the information described below relating to aiding, abetting, counseling,

commanding, inducing, and procuring Doctor D, located in or around Danville, Kentucky, to

switch prescriptions to Suboxone Film where Doctor D exceeded the maximum number of

patients allowed at a time, where daily doses exceeded the maximum indicated for additional

clinical advantage, and where prescriptions were issued in a careless and clinically unwarranted

Manner:

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Par. | Date(s) Personnel Information

129 | 6/25/2008 | INDIVIOR Sales Coaching form: “Continue to Partner with [Doctor D’s clinic] and

-- Sprvsr. to their growing . . . organization. While it can appear the program is

INDIVIOR Sales on auto-pilot, they still have much to learn, and we can help”.
Rep.
130 | 7/11/2008 | INDIVIOR Sales “Report: “The 2nd [office of Doctor D’s clinic] opened in|
Rep: to INDIVIOR | Barboursville, the third one is scheduled to open in August and that
Sales Sprvsr. will be in Frankfurt. The plan is to have 10 physicians in each -
clinic, Expanding trx in the South, one clinic at a time!”

131 | 12/17/2008 | INDIVIOR Med. | Email: Doctor D “is in difficulties with his organization of 30 MDs

Advsr. to related to prescribing of Suboxone. This stems perhaps from a
INDIVIOR Risk couple of problem patients and led to a state board investigation.
Mer. and INDIVIOR | Most of their patients are on 24 mg daily. ... Is this group in
Sales Sprvsr. Kentucky an area of concern for us? Is there any follow-up

' needed?” . . .

132 | 7/23/2009, | “Here to Help” | Here to Help operators referred opioid-addiction/dependence
8/13/2009, | telephone operators | patients to Doctor D, using lists of enrolled prescribers i in the.
8/31/2009 patients’ geographic areas

133 | 9/23/2009 .} Doctor D to ~ Email: “We are even more excited about the opportunities we have

| INDIVIOR Gov. to facilitate each others’ [sic] success.... We will keep our noses’

Mer. and INDIVIOR | to the grindstone getting our program of care ‘refined’ and ask that

Sales Rep. you continue to keep your brain grinding on how to best ‘use’ us
everywhere and any way it makes sense. We will keep
[INDIVIOR] updated as we collaborate with Medicaid, private
payors, the VA system, and anything/anyone else we come across.
We are pursuing multiple grants as of yesterday evening for the
call centerdatabase [sic]/website plan and indigent care for opiate
addicts (those with no pay source), but if there ts any way
[LINDIVIOR] can get involved financially, there will be great
business benefit for [INDIVIOR] in the end (more patients being
prescribed SBX) and amazing PR for each state you support”

134 | 9/23/2009 | INDIVIOR Sales | Email: “We have had a difficult time giving [Doctor D] what he

Sprvsr. to wanted, because most of his requests are out of pharma guidelines.

INDIVIOR Gov. . [can see you were able to provide him with opportunities and

Mer. information that he sees as very valuable to his treatment center
plans and goals. Thank you for helping [ensure Doctor D’s clinic] .
sees the Integrated Value [INDIVIOR} has to offer”

135 | 1/4/2010, | “Here to Help” Here to Help operators referred opioid-addiction/dependence
5/13/2010, | telephone operators | patients to Doctor D, using lists of enrolled prescribers in the
$/17/2010, patients’ geographic areas
9/7/2010, |
9/30/2010, -

10/19/2010,
10/26/2010,
‘| 11/10/2010

 

 

 

 

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Doctor D to

Report: in one month, Doctor D’s clinic had prescribed

 

 

 

 

 

 

 

 

 

136 | 12/8/2010

INDIVIOR Gov. buprenorphine-containing drugs to 1,659 individuals, at daily .

Mers., INDIVIOR doses higher than 24 mgs of buprenorphine to 39% of them, and at

Sales Rep., and daily doses of at least 24 mgs of buprenorphine to 76% of them.

others INDIVIOR’s Public Sector Dir. forwarded the report to others at
INDIVIOR, stating, “[w]ith over 76% of the patients at 24 mg ‘and
above, we have some serious work today in educating his
organization and the physicians about dosing and overall quality

‘| care. The reverse should likely be the case”

[37 | 12/23/2010, | “Here to Help” Here to Help operators referred opioid-addiction/dependence

1/5/2011, telephone operators | patients to Doctor D, using lists of enrolled prescribers in the

‘| 1/10/2011, patients’ geographic areas

1/28/2011,

3/25/2011,

4/21/2011,

4/22/2011,

5/5/2011,

5/11/2011,
5/16/2011,

5/17/2011,

5/25/2011,

6/8/2011,

6/27/2011,

8/12/2011,

8/15/2011,

8/19/2011,

9/15/2011,

10/3/2011,

10/19/2011,

11/4/2011,

_| 11/30/2011 . . oo
138 | 2011 INDIVIOR Exec. to | Award: INDIVIOR sales rep. marketing Suboxone Film to Doctor
. INDIVIOR D’s clinic recognized as INDIVIOR’s sales rep. of the year
Salespeople
139 | 2/2/2012 INDIVIOR Sales Email: INDIVIOR to sponsor Doctor D’s clinic’s annual.meeting,
Rep. toINDFVIOR | including breakfast and lunch for 46 people
. _ | Sales Sprvsr.

140 | 2/13/2012, | “Here to Help” Here to Help operators referred opioid-addiction/dependence _
2/16/2012, | telephone operators | patients to Doctor D, using lists of enrolled prescribers in the
3/7/2012, patients’ geographic areas
4/9/2012,

4/18/2012,
5/2/2012,
5/16/2012

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141 | 6/4/2012 | Kentucky Board of | Indefinite restriction of Doctor D’s authorization to prescribe
Medical Licensure buprenorphine-containing drugs for use in opioid
addiction/dependence treatment

 

142 | 6/25/2012 | “Here to Help” | About 140 instances in which Here to Help operators referred
through telephone operators | opioid-addiction/dependence patients to Doctor D, using lists of
12/2/2016 enrolled prescribers in the patients’ geographic areas —

 

 

143 | 3/31/2017 | United States Doctor D convicted of 17 counts of health care fraud
| District Court for the .
Eastern District of
Kentucky .

 

 

 

 

SUBOXONE TABLET PRICE INCREASES TO SUPPORT SCHEME
144. Between in or about 2010 and the date of this Indictment, INDIVIOR PLC,
INDIVIOR INC, (also known as Reckitt Benckiser Pharmaceuticals Inc.), and their executives,
employees, and agents also increased the price of Suboxone Tablet to cause patients to switch to -
Suboxone Film. In or about October 2011, an INDIVIOR manager told colleagues, “I could not
support a tablet fptice] increase again before next October. That would be essentially another
37% over 24 months. ... If we are considering the patient in all of this, then we need to
understand that 40% will have to remain on the tablet due to supply constraints.... We also
need to consider the public health backlash and that of physicians.” In or about July 2012,
INDIVIOR increased the price of Suboxone Tablet by 15%, stating the “Rationale of Price
Increase” as “accelerate conversion to Film.”
REVENUE AND PROFIT
145. Inor about the specified years, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.) and Company A received approximately the following revenues from sales

of Suboxone Film:

 

 

 

 

 

 

 

 

‘Year Revenue
2010 $83,328,721
2011 $400,615,412
2012 $666,695,781
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2013 $887,469,559
2014 $843,047,500

 

 

 

 

 

In or about the same years, Medicare and Medicaid payments for Suboxone Film were

approximately as follows:

 

 

 

 

 

 

 

 

 

 

Year Medicare Medicaid
2010 ‘ $2,134,000 | $7,136,000
201 | $26,188,000 —$108,079,000
2012 $70,329,000 . -$211,294,000
2013 $132,984,000  - $326,666,000
2014 $147,704,000 $386,685,000

 

146. In or about September 2012, Company A stated that it would give “special
recognition awards” of thousands of shares of Company A stock to about ten INDIVIOR
executives and managers for the commercial success of Suboxone Film, saying it had “created a
long-term sustainable business model for” INDIVIOR.

147. On or about August 5, 2013, INDIVIOR’s chief executive officer emailed
Company A’s chief executive officer and others, stating that Suboxone Film’s share of the
market had grown to 69.1%, which was “almost enough to make you wonder when we will break.
through the 70% share barrier?” Company A’s chief executive officer replied-all, “I agree, our
US team has done a fantastic job of defending our film share thus far.”

148. On or about November 17, 2013, FNDIVIOR’s chief executive officer stated to an
INDIVIOR manager that in switching physicians, pharmacists, health care benefit programs, and
others to Suboxone Film, INDIVIOR had achieved “the best format conversion ever in the

. history of the industry.”

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COUNT ONE
Conspiracy to Commit Mail, Wire, and Health Care Fraud

The Grand Jury charges that:

1. . The Introduction to this Indictment and the factual allegations of Counts Two
through Twenty-eight are realleged and incorporated as if fully set forth herein,

2. ° Between in or about 2006 and the date of this Indictment, in the Western District
of Virginia and elsewhere, INDIVIOR PLC, INDIVIOR INC. {also Known as Reckitt Benckiser
Pharmaceuticals Inc.}, and others known and unknown to the Grand Jury knowingly conspired to
commit the following offenses:

a Mail fraud, in violation of Title 18, United States Code, Section 1341, that
is, having devised and intending to devise the scheme and artifice to defraud and to
obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises described in the Introduction to this Indictment, and for the
purpose of executing such scheme and artifice and attempting to do so, did knowingly .
cause to be delivered by the Postal Service and any private or commercial interstate
carrier certain matters and things according to the directions thereon;

b. Wire fraud, in violation of Title 18, United States Code, Section 1343, that
is, having devised and intending to devise the scheme and artifice to defraud and to
obtain money and property by means of materially false and fraudulent pretenses,

‘Tepresentations, and promises described in the Introduction to this indictment, and for the

purpose of executing such scheme and artifice and attempting to do so, transmitted and

caused to be transmitted by means of wire communication in interstate commerce

writings, signals, and sounds;

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c. Health care fraud, in violation of Title 18, United States Code, Section
1347, that is, knowingly and willfully executed and attempted to execute the scheme and
. artifice to defraud and to obtain by means of materially false and fraudulent pretenses,
representations, and promises money and property owned by and under the custody and
control of Medicare, Medicaid, private insurance providers, and other health care benefit
programs in connection with the delivery of and payment for health care benefits, items,
and services, described in the Introduction of this Indictment.
3. In furtherance of the conspiracy, and to effect its object, INDIVIOR PLC,
INDIVIOR INC. (also known as Reckitt Benckiser Pharmaceuticals Inc.), and others known and
unknown to the Grand Jury committed the overt acts described in the Introduction to this ”
Indictment, and Counts Two through Twenty-eight of this Indictment.

4, All in violation of Title 18, United States Code, Section 1349.

COUNT TWO
Health Care Fraud
The Grand Jury charges that:
1. The Introduction to this Indictment and the factual allegations of Counts One and

Three through Twenty-eight are realleged and incorporated as if fully set forth herein.

2. Between in or about 2006 and the date of this Indictment, in the Westem District
of Virginia and elsewhere, INDIVIOR PLC and INDIVIOR INC. {also known as Reckitt
Benckiser Pharmaceuticals Inc.}, and others known and unknown to the Grand Jury, as principals
and aiders and abettors, knowingly and willfully executed and attempted to execute a scheme
and artifice to (1} defraud health care benefit programs as defined in Title 18, United States
Code, Section 24(b), including Medicaid, Medicare, other public health care programs, private

insurance providers, and other health care benefit programs, and (2) obtain by means of

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materially false and fraudulent pretenses, representations, and promises, money and property
owned by and under the custody and control of said ‘health care benefit programs, in connection
with the delivery of and payment for health care benefits, items, and services.

3. It was the object of the scheme and artifice to fraudulently indice physicians to
write prescriptions for Suboxone Film, pharmacists to fill prescriptions for Suboxone Film, and
health care benefit programs to provide coverage of prescriptions for Suboxone Film, and to
cause:.

a. Patients to obtain Suboxone Film from pharmacies and others;

b. Patients, pharmacies, and others to submit claims for Suboxone Film to-
health care benefit programs;

C. Health care benefit programs to pay claims for Suboxone Film;

d. Pharmacies and others to make payments to wholesalers, distributors, and
others for Suboxone Film; and

- e. Wholesalers, distributors, and others to make payments to INDIVIOR .
PLC and INDIVIOR INC. {also known as Reckitt Benckiser Pharmaceuticals Inc.) for
_ gales of Suboxone Film made as a result of the scheme and artifice to defraud.

4. In furtherance of the scheme and artifice, and to effect its object, INDIVIOR PLC,
INDIVIOR INC. (also known as Reckitt Benckiser Pharmaceuticals Inc.), and others known and
unknown to the Grand J ury, for the purpose of causing health care providers and others to
prescribe and dispense Suboxone Film, and to recommend the prescribing and dispensing of
Suboxone Film, did, and aided, abetted, counseled, commanded, induced, and procured others to,

make materially false and fraudulent statements and representations, including the following:

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a. Representing to physicians, pharmacists, and other health care providers
that Suboxone Film is safer and less susceptible to misuse, abuse, diversion, and
aceidental child exposure than other, similar drugs, and has other unsubstantiated effects
such as weeding out drug seekers, making patients feel less like addicts, protecting
physicians from being criminally prosecuted, and protecting office-based treatment of
opioid addiction/dependence from being banned;

b, Producing and disseminating printed marketing materials representing that
Suboxone Film is safer and less susceptible to misuse, abuse, diversion, and accidental
child exposure than other, similar drugs, containing misleading text, graphics, and charts; -

c. Representing to government officials, employees, and agents
administering various state Medicaid programs, and others, that Suboxone Film is safer

and less susceptible to misuse, abuse, diversion, and accidental child exposure than other,

.similar drugs, to cause such government officials, employees, and agents, and others to

expand and maintain Medicaid coverage of Suboxone Film at substantial cost to the

government and substantial profit to the defendants; and

d. Providing patient referrals, presentations, marketing materials, access to
funch and dinner events, and other benefits to physicians they knew were prescribing
buprenorphine-containing drugs to more patients ita time than allowed by federal law
(i.e., the DATA), at daily doses higher than the maximum dose of any demonstrated
additional clinical advantage Gj e., 24 mgs of buprenorphine), end in a careless and
clinically unwarranted manner.

5. All in violation of Title 18, United States Code, Sections 2 and 1347.

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COUNTS THREE THROUGH SIX
Mail Fraud

_ The Grand Jury charges that:.
1. The Introduction and the factual allegations of Counts One through Two and
Seven through Twenty-eight are realleged and incorporated as if fully set forth herein.

2. Between in ot about 2006 and the date of this Indictment, in the Western District
of Virginia and elsewhere, INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.), and others known and unknown to the Grand Jury, with the intent to
dekaud, devised and willfully participated in, with knowledge of its fraudulent nature, the
scheme and artifice to defraud and obtain money and property by materially false and fraudulent
pretenses, representations, and promises described in the Introduction and in the factual
allegations of Counts One through Two and Seven through Twenty-eight of this Indictment.

3, On or about the date specified as to each count below, in the Western District of

_ Virginia, for the purpose of executing and attempting to execute such scheme and artifice to

defraud, INDIVIOR PLC, INDIVIOR INC. {also known as Reckitt Benckiser Pharmaceuticals
Ane.), and others known and unknown to the Grand Jury caused to be delivered by mail and
private or commercial interstate carrier according to the direction thereon, the named matter and

thing, namely, marketing visual aids containing materially false and fraudulent representations
that Suboxone Film is safer and-less susceptible to misuse, abuse, diversion, and accidental child
exposure than other, similar drugs, including misleading text, graphics, and charts, to an
INDIVIOR sales representative in Roanoke, Virginia, who promoted Suboxone Film to
physicians, pharmacists, and others in locations including Blacksburg, Cedar Bluff
Charlottesville, Christiansburg, Danville, Galax, Lynchburg, Roanoke, Salem, Staunton, Willis,

and Wytheville, Virginia:

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COUNT DATE

THREE February 6, 2012
FOUR January 4, 2013
FIVE March 21, 2013
SIX August 19,2013

 

 

 

4, All in violation of Title 18, United States Code, Sections 2 and 1341.

COUNTS SEVEN THROUGH TWENTY-EIGHT
Wire Fraud

The Grand Jury charges that:

1. The Introduction and the factual allegations of Counts One through Six are
realleged and incorporated as if Fully set forth herein.

2. - Between in or about 2006 and the date of this Indictment, in the Western District
of Virginia and elsewhere, INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.), and others known and unknown to the Grand Jury, with the intent to
defraud, devised and willfully participated in, with knowledge of its fraudulent nature, the
scheme and artifice to defraud and obtain money and property by materially false and fraudulent
pretenses, representations, and promises described in the Introduction and the factual allegations ~
of Counts One through Six of this Indictment.

3. On or about the date specified as to each count below, in the Western District of
Virginia and elsewhere, for the purpose of executing and attempting to execute such scheme and
artifice to defraud, INDIVIOR PLC, INDIVIOR INC. (also known as Reckitt Benckiser
Pharmaceuticals Inc.), and others known and unknown to the Grand Jury, caused to be
transmitted. by wire communication or radio communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds, namely, reports of clinical liaisons falsely and

- fraudulently representing to physicians, pharmacists, and other health care providers that
Sub oxone-Film is safer, and less susceptible to misuse, abuse, diversion, and accidental child

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exposure than other, similar drugs, transmitted from Florida and New Jersey to locations in the

_ Western District of Virginia, and referrals of prospective patients to Doctor A, transmitted from

’ Pennsylvania to locations in the Western District of Virginia, as described below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT DATE ITEM
SEVEN ‘April 30, 2010 Referral to Doctor A
EIGHT October 9, 2010 Activity Report with Model Safety Claims
NINE October 24, 2010 Activity Report with Model Safety Claims
TEN. November 29, 2010. | Activity Report with Model Safety Claims
ELEVEN .| June 1, 2011 Referral to Doctor A
TWELVE July 8,.2011 Activity Report with Model Safety Claims
THIRTEEN September 2, 2011 Referral to Doctor A _
FOURTEEN October 6, 2011 Referral to Doctor A (1 of 2 on this date)
FIFTEEN -| October 6, 2011 Referral to Doctor A (2 of 2 on this date)
SIXTEEN May 1, 2012 Referral to Doctor A
SEVENTEEN _ April 12, 2013 Referral to Doctor A
EIGHTEEN April 26, 2013. Referral to Doctor A
NINETEEN December 13,2013 | Referral to Doctor A
TWENTY November 3, 2014 Referral to Doctor A
TWENTY-ONE "| March 10, 2015 Referral to Doctor A

| TWENTY-TWO March 13, 2015 Referral to Doctor A
TWENTY-THREE March 18, 2015 Referral to Doctor A
TWENTY-FOUR April 27, 2015 Referral to Doctor A

 

 

 

 

 

 

 

TWENTY-FIVE May 26, 2015 Referral to Doctor A (1 of 2 on this date)
| TWENTY-SIX. May 26, 2015 Referral to Doctor A (2 of 2 on this date)

TWENTY-SEVEN June 18, 2015 Referral to Doctor A

TWENTY-EIGHT - July 8, 2015 Referral to Doctor A

 

4, All in violation of Title 18, United States Code, Sections 2 and 1343.

NOTICE OF FORFEITURE

1, The Introduction and the factual allegations of Counts One through Twenty-Eight

of this Indictment are realleged and made part of this Notice.

2. Upon conviction of one or more of the felony offenses alleged in this Indictment,

INDIVIOR PLC and INDIVIOR INC, {also known as Reckitt Benckiser Pharmaceuticals Inc.}

shall forfeit to the United States:

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a, -_—s pursuant to 18 US.C.§ 981(a)(1 (C) and 28 U.S.C. § 2461 (c), any
property, real or personal, which constitutes, or is derived from proceeds traceable to a
violation of any offense constituting “specified unlawful activity” (as defined in section
1956(c)(7)}, or a conspiracy to commit such offense; and

b. pursuant to 18 U.S.C. § 982(a)(7), property, real or personal, that
constitutes, or is derived, directly or indirectly, from gross proceeds traceable to the
commission of the offense.

3. The property to be forfeited to the United States includes, but is not limited to, the .
following:

a. Monetary Judgment: Not less than $3,000,000,000 (three billion dollars)
in United States currency and all interest and proceeds traceable thereto, in that such sum
in aggregate was obtained directly or indirectly as a result of said offenses or is traceable
to such property.

b, Business Entities (including all assets, inventory, and property related
. thereto): Indivior Finance (2014} LLC; Indivior Finance SARL; Indivior Global
Holdings Ltd (a/k/a RBP Global Holdings Limited}; Indivior Ine. (alk/a Reckitt
Benckiser Pharmaceuticals Inc.); Indivior PLC; Indivior Solutions Inc. (a/k/a Reckitt

Benckiser Pharmaceuticals Solutions Inc.) ; and Indivior US Holdings Inc. (f/k/a RBP US

 

 

 

 

 

~ Holdings Inc.).
c. Bank Accounts, all funds. received and on deposit as set forth below:
Bank Account Name Account #
Indivior Inc. {a/k/a Reckitt
Benckiser Pharmaceuticals
(1) |} Bank of America Inc.)
(2) | JP Morgan Chase Indivior Inc.
. (3) | JP Morgan Chase Indivior Inc.

 

 

 

 

 

 

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(4) | JP Morgan Chase Indivior Inc. a
Indivior Solutions Inc. (a/k/a
Reckitt Benckiser

Pharmaceuticals Solutions
(5) | JP Morgan Chase Inc.) a
Reckitt Benckiser

Pharmaceuticals Inc. -
Catalyst /ASO CGLIC as

(6) | JE Morgan Chase ___| ADMIN-ERISA Account | DS.

| Reckitt Benckiser

Pharmaceuticals Inc. -
Catalyst /ASO CGLIC as _

(7) | JE Morgan Chase ADMIN - ERISA Account a
JP Morgan Chase (Great -
(8) | Britain) Indivior PLC | as

. JP Morgan Chase (Great

(9) | Britain) Indivior PLC ee

_ | JP Morgan Chase (Great Reckitt Benckiser Pharm
(10) | Britain) Inc. . a
(11) | Wells Fargo Indivior Inc. i
Institutional Cash Distributors | _
(12) | (CD}, LLC Indivior PLC
d. Trademarks:

 

Serial No., Registration No.
(1) | 86779039
(2) 86779033

3) | 86779029 .

(4) | 86779026

(5) | 79151424, 4718643

 

 

 

 

 

 

 

 

 

é. Patents:

 

Patent

Number Patent Title

 

 

 

 

 

(1)| 8,475,832 Sublingual and buccal film compositions

 

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Medicinal compositions comprising buprenorphine and

8,097,280 nalmefene

(2).
(3) | 8,697,718 | Pack of medicinal tablets

 

 

Medicinal compositions comprising buprenorphine and

8,912,211
naltrexone

(4) |
(5) | 8,921,387 | Injectable flowable composition comprising buprenorphine

 

 

(6) | 8,975,270 | Injectable flowable composition comprising buprenorphine

 

(7) | 9,101,625 | Buprenorphine-wafer for drug substitution therapy

 

(8) | 9,180,197 | Sustained delivery formulations of risperidone compounds .

 

(9); 9,186,413 Sustained delivery formulations of risperidone compounds

 

(10) 9,272,044 Injectable flowable composition buprenorphine

 

 

 

 

 

4 (11) $,370,512 | Buprenorphine-wafer for drug substitution therapy

 

4. If any of the above-described forfeitable property, as a result of any act or
omission of the defendant, cannot be located upon the exercise of due diligence; has been
, transferred or sold to or deposited with a third person; has been placed beyond the jurisdiction of .
the Court; has been substantially diminished in value; or has been commingled with other
property which cannot be subdivided without difficulty; it is the intent of the United States to
seek forfeiture of any other. property of the defendant up to the value of the above described
forfeitable property pursuant to 21 US.C. § 853(p), including the assets described above, and —
includin g but not limited to the following assets:

a. Accounts Receivable, all amounts due from the following entities:

 

(1) Amerisource Bergen

 

(2) | Burlington Drug
(3) | Cardinal Health
(4) | Dakota Drug Inc

. {5} | Dixon Shane LLC

 

 

 

 

 

 

 

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(6) | Harvard Drug Group

 

(7) | HD Smith

 

Integrated Commercialization
(8) | Solutions

(9) | JM Smith

 

 

(10) | Luis Garraton

 

(11) | McKesson

 

(12) | Morris Dickson

 

(13) | MWI Vet Supply

 

(14) | NC Mutual Drug Company

 

(15) | Rochester Drug

 

(16) | Valley Wholesale

 

 

 

 

(17) ; Value Drug Company

 

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 ATRUEBILL, this 97 day of Apri! , 2019.

 

/ 3/Grand Jury Foreperson

Bale (Passa

JPanel PCBUBAR.
First Assistant United States Attomey

Attorney for the United States, Acting Under Authority Conferred by 28 U.S.C. § 515

JAMES M. BURNHAM

Deputy Assistant Attorney General
Civil Division

Department of Justice

GUSTAV W, EYLER
Acting Director

Consumer Protection Branch
Department of Justice

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